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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,                     )
                                              )
                v.                            )       Case No. 1:21-cr-00245-AJT
                                              )
IGOR Y. DANCHENKO,                            )
                                              )
                       Defendant.             )

 DEFENDANT’S MEMORANDUM REGARDING DISPUTED JURY INSTRUCTIONS

         Defendant Igor Danchenko, by and through counsel, respectfully submits the following

argument regarding disputed jury instructions. In support of his argument, Mr. Danchenko

provides the following:


   I.       “Presumption of Innocence, Burden of Proof, and Reasonable Doubt”
            (Defendant’s Proposed Instruction 28/Government’s Proposed Instruction A)

         It appears from the government’s submission that this instruction is no longer in dispute

and the parties have proposed the same language for this instruction.

   II.      “False, fictitious, or Fraudulent Statements or Representations” (Defendant’s
            Proposed Instruction 29/Government’s Proposed Instruction B)

         Both the defendant’s and the government’s proposed instructions on the definition of a

false, fictitious, or fraudulent statement are in accord through the first two sentences. Mr.

Danchenko has proposed additional language that accurately states the law as found by both the

Supreme Court in Bronston v. United States, 409 U.S. 352, 362 (1973), and the Fourth Circuit in

United States v. Good, 326 F.3d 589, 592 (4th Cir. 2003), and United States v. Baer, 92 F. App’x.

942, 946 (4th Cir. 2004). Mr. Danchenko submits that it is crucial to his defense that the jury be

instructed that a literally true statement cannot be false because his statement to the FBI that he

had never “talked” with Dolan about information that ended up in the dossier was, in fact, literally

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true. Moreover, to the extent the government will argue that the word “talked” is susceptible to

more than one interpretation, the jury should similarly be instructed that if they find the term

“talked” to be fundamentally ambiguous, they cannot convict Mr. Danchenko for making a false

statement on Count 1, regardless of Mr. Danchenko’s answer. Likewise, the jury should be

instructed that even if the question posed by the FBI was only arguably ambiguous, the government

has the burden to disprove any and all reasonable interpretations of the question that would make

Mr. Danchenko’s response literally true or factually correct.

        The instruction proposed by Mr. Danchenko correctly states the law and, therefore, should

be given to the jury in order to provide a more specific and detailed instruction that is applicable

to the facts of this case. 1 Mr. Danchenko would not object to the incorporation of some language

from the government’s proposed instruction that would provide additional guidance should the

jury determine that the FBI Agent’s question was arguably ambiguous.                Specifically, Mr.

Danchenko would not object to the Court including the following language at the end of his

proposed instruction:

               Where a question posed to a defendant is arguably ambiguous, such that it
               is susceptible to more than one interpretation, and a defendant’s answer is
               true under one understanding, but false under another, you, as the jury, must
               determine whether the defendant knew that his answer to the question was
               false. In making this determination, you may not isolate the question from
               its context.




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  See O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 7:2 (6th ed.) (“Although
a judge may use ‘boilerplate’ instructions to give expression to the common principles of law often
repeated, the judge should take no umbrage in being furnished pertinent instructions on the points
of law in every case.”). “A further word of caution is appropriate in connection with the use of
standard forms of jury instructions. They may not be swallowed whole. They are intended as an
aid to the preparation of appropriate instructions in a particular case. Each case has its own peculiar
facts, and formalized instructions must be tailored to the requirements of the facts of the given
case.” Id.
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          The above language should only be included if the instruction also makes clear (through

the language proposed in Mr. Danchenko’s instruction) that the government has the burden to

prove Mr. Danchenko’s statement is false under every reasonable interpretation of the ambiguous

question. The remainder of the government’s proposed instruction is confusing, unnecessary, and

repetitive, and should not be included.

   III.      “Knew” or “Knowingly” – Defined (Defendant’s Proposed Instruction
             30/Government’s Proposed Instruction C)

          Both parties’ instructions are identical through the first sentence.       However, Mr.

Danchenko now proposes a new instruction that removes the language “or omission” from the first

sentence. See Attachment 1 (Defendant’s Proposed Instruction 30-1). As Mr. Danchenko argued

in his Motion to Dismiss the indictment, the government did not charge Mr. Danchenko with false

statements by omission but, rather, false statements by affirmative misrepresentation. In order to

avoid any confusion and the potential that a jury could convict Mr. Danchenko on a theory of guilt

not found by the grand jury and not charged in the indictment, any reference to omission should

be removed from the instructions.

          The second sentence proposed by Mr. Danchenko is a correct statement of law that

provides the jury with additional instruction on an allegation that is repeated in four of the five

charged counts – that Mr. Danchenko “believed” an anonymous caller may have been Millian.

The veracity of Mr. Danchenko’s beliefs are on trial in Counts Two through Five and there can be

no dispute that a statement that a person believes to be true cannot be knowingly false, even if, for

example, it later turned out to not be true. That principle should be made clear to the jury in the

instructions and this Court approved almost identical language in United States v. Jadue, Case No.

1:13-cr-499-AJT (Dkt. 72-5) at 33 (July 9, 2014).




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   IV.      “Willfully” – Defined (Defendant’s Proposed Instruction 31/Government’s
            Proposed Instruction D)

         Mr. Danchenko submits that it would be error to not include the second sentence provided

in his proposed jury instruction on “willfully” that requires a finding of an intention to do

something the law forbids. That is exactly what the Supreme Court held in Bryan v. United States,

524 U.S. 184, 191-92 (1998) (“As a general matter, when used in the criminal context, a ‘willful’

act is one undertaken with a ‘bad purpose.’ In other words, in order to establish a “willful”

violation of a statute, ‘the Government must prove that the defendant acted with knowledge that

his conduct was unlawful.’”) (internal citations omitted). The third sentence in Mr. Danchenko’s

instruction merely provides additional explanation for the concept expressed in the previous

sentence and should be included so that the jury has a clear understanding of the willfulness

instruction.

   V.       “Materiality” – Defined (Defendant’s Proposed Instruction 32/Government’s
            Proposed Instruction E)

         The parties’ proposed instructions are identical except for the final sentence.       The

government objects to the inclusion of Mr. Danchenko’s proposal to include language that a

statement regarding a trivial detail is not material and that a statement may be relevant but not

material. Mr. Danchenko submits that the trivial detail language comports with the holdings in

multiple cases and provides further elucidation on a concept of materiality that might inherently

be confusing to the jury. See United States v. White, 765 F.2d 1469, 1472 (11th Cir. 1985)

(materiality standard ensures “trivial falsifications” are not prosecuted); Weinstock v. United

States, 231 F.2d 699, 701 (D.C. Cir. 1956) (“To be ‘material’ means to have probative weight, i.e.,

reasonably likely to influence the tribunal in making a determination required to be made.”);

United States v. Steele, 933 F.2d 1313, 1315 (1991) (materiality serves “to exclude trivial



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falsehoods from the purview of the statute”); see also United States v. McComber, No. CR ELH-

21-36, 2021 WL 5760731, at *7 (D. Md. Dec. 3, 2021) (“A ‘material fact’ is defined as ‘one which

has a natural tendency to influence or is capable of affecting or influencing a government function.

That is, it must relate to an important fact as distinguished from some unimportant

or trivial detail.’”) (quoting Leonard B. Sand, et al., Modern Federal Jury Instructions, Criminal

Instruction 18.3).

            Moreover, Mr. Danchenko submits that it is important for the jury to understand that there

exists a distinction between what is relevant and what is material. It is unlikely to be in dispute

among the parties that not every statement that is relevant is material for the purposes of the false

statement statute. The jury should likewise be made aware that materiality requires a showing of

some probative weight that is capable of influence, as opposed to a statement that is merely

relevant to a government investigation.

      VI.      The Good Faith Defense (Defendant’s Proposed Instruction 33/Government’s
               Proposed Instruction F)

            As noted in the citations provided in Mr. Danchenko’s proposed jury instructions, his Good

Faith Defense instruction is adapted from the O’Malley book but has been modified to track the

language this Court accepted in United States v. Jadue, Case No. 1:13-cr-499-AJT (Dkt. 72-5) at

37-8 (July 9, 2014). Mr. Danchenko has proposed additional language to the second paragraph of

his original proposed instruction 2 in order to incorporate language from the Supreme Court that

makes clear that a defendant can be found to have acted in good faith even if his truly held belief

was objectively unreasonable or irrational:

                   We thus disagree with the Court of Appeals' requirement that a claimed
                   good-faith belief must be objectively reasonable if it is to be considered as
                   possibly negating the Government's evidence purporting to show a


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    See Attachment 2 (Defendant’s Proposed Instruction 33-1).
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               defendant's awareness of the legal duty at issue. Knowledge and belief are
               characteristically questions for the factfinder, in this case the jury.
               Characterizing a particular belief as not objectively reasonable transforms
               the inquiry into a legal one and would prevent the jury from considering it.
               It would of course be proper to exclude evidence having no relevance or
               probative value with respect to willfulness; but it is not contrary to common
               sense, let alone impossible, for a defendant to be ignorant of his duty based
               on an irrational belief that he has no duty, and forbidding the jury to consider
               evidence that might negate willfulness would raise a serious question under
               the Sixth Amendment's jury trial provision.

See Cheek v. United States, 498 U.S. 192, 203 (1991).

       The government’s proposed instruction includes language regarding an intent to defraud,

which is not an element of the charged offenses in this case. The third paragraph in the

government’s proposed instruction, while perhaps applicable in some instances, is confusing in

relation to the facts of this case and arguably would allow the jury to find that Mr. Danchenko both

truly believed the anonymous caller was Millian but also made a false statement by recounting that

truly held belief to the FBI. (“A defendant does not act in “good faith” if, even though the

defendant honestly holds a certain opinion or belief, that defendant also knowingly makes false or

fraudulent pretenses, representations, or promises to others.”). The only alleged false statements

related to the Millian counts are that Mr. Danchenko received a call from a person he believed to

be Millian when he knew Millian had never called him and he had never spoken with Millian. For

that reason, it would be inappropriate to include the government’s proposed language. In addition,

the language contained in paragraph 5 of the government’s instruction, “and an intention to avoid

taking unfair advantage” is inapplicable to the false statements charged in this case. Finally the

last sentence of the government’s proposed instruction is confusing as to whether the “reasonable

doubt” language applies both to the jury’s evaluation of whether the defendant acted knowingly

and willfully and/or whether he acted in good faith.




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   VII.    Nature of the Offense Charged (Defendant’s                 Proposed    Instruction
           34/Government’s Proposed Instruction G)

       Mr. Danchenko has proposed a modified version of his original Nature of the Offense

Charged instruction that more closely tracks the language of the indictment with regard to the

charged counts. See Attachment 3 (Defendant’s Proposed Instruction 34-1).


       WHEREFORE based on the foregoing reasons, undersigned counsel respectfully asks this

Honorable Court to provide the jury with his proposed instructions.


Dated: October 9, 2022                      Respectfully submitted,

                                                    /s/
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of October, 2022, I electronically filed a true copy of the

foregoing motion with the Clerk of Court using the CM/ECF system, which will send a notification

of such filing (NEF) to all parties.


                                                       /s/
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